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                                           UNITED STATES DISTRICT COURT
                                                    EASTERN DISTRICT OF MISSOURI

  UNITED STATES OF AMERICA                                                      §   AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                                §
  v.                                                                            §
                                                                                §   Case Number: 1:20-CR-00185-MTS(l)
  CAMERON C. ACOSTA                                                             §   USM Number: 21808-509
  Date of Original Judgment: 5/16/2022                                          §   Curtis 0. Poore
                                                                                §   Defendant's Attorney

 THE DEFENDANT:
  ~   pleaded guilty to count(s)                                    One (1 ), two (2) and (4) four of the indictment on February 9, 2022
      pleaded guilty to count(s) before a U.S.
  •   Magistrate Judge, which was accepted by the
      court.
      pleaded nolo contendere to count(s) which was
  •   accepted by the court
      was found guilty on count(s) after a plea of not
  •   guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section/ Nature of Offense                                                                        Offense Ended       Count
  21:841(a)(l), 21:841(b)(l)(C)       Possession Of Cocaine With Intent To Distribute                      04/02/2018          lrs

  21:84l(a)(l), 21:84l(b)(l)(D)       Possession Of Marijuana With Intent To Distribute                    04/02/2018          2rs

  18:922(g)(3), 18:924(a)(2)          Drug User in Possession of One of More Firearms                      04/02/2018          4rs



 The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
 Reform Act of 1984.

  D     The defendant has been found not guilty on count(s)
  ~     Count(s) 3rs ~ is         D    are dismissed on the motion of the United States

           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
  residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
  ordered to pay restitution, the defendant must notify the court and·United States attorney of material changes in economic
· circumstances.




                                                                         MATTHEW T. SCHELP
                                                                         UNITED STATES DISTRICT JUDGE
                                                                         Name and Title of Judge

                                                                         May 16, 2022
                                                                         Date
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DEFENDANT:                 CAMERON C. ACOSTA
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                                                      IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

24 month(s) - This term consists of a term of 24 months on each of counts one, two, and four, all such terms to be served
concurrently.

 ~     The court makes the following recommendations to the Bureau of Prisons:
        While in the custody of the Bureau of Prisons, it is recommended the defendant be evaluated for participation in an
        Occupational/Educational program. It is also recommended that the defendant be placed at Marion, IL. Such
        recommendation is made to the extent it is consistent with the Bureau of Prisons policies.



 D     The defendant is remanded to the custody of the United States Marshal.
 D     The defendant shall surrender to the United States Marshal for this district:
                                                                                r




          D     at                                  D       a.m.     •      p.m.       on

          D     as notified by the United States Marshal.

 ~     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D     before 2 p.m. on
          ~     as notified by the United States Marshal.
          D     as notified by the Probation or Pretrial Services Office.




                                   MARSHALS RETURN MADE ON SEPARATE PAGE
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DEFENDANT:                 CAMERON C. ACOSTA
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                                                SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: three (3) years. This term consists of
a term of three years on each of counts one, two, and four, all such terms to run concurrently.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

                                            MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            D    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   D     You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
            ofrestitution. (check if applicable)
 5.   [ZI   You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6.   D     You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
            you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   D     You must participate in an approved program for domestic violence. (check     if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
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DEFENDANT:                  CAMERON C. ACOSTA
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                                STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federaljudicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware ofa change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.                                                ·
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or .death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at the www.uscourts.gov.

 Defendant's Signature                                                                             Date
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DEFENDANT:                 CAMERON C. ACOSTA
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                                 SPECIAL CONDITIONS OF SUPERVISION
While on supervision, the defendant shall comply with the standard conditions that have been adopted by this Court and shall comply
with the following additional conditions. If it is determined there are costs associated with any services provided, the defendant shall
pay those costs based on a co-payment fee established by the probation office.



You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not attempt to obstruct or
tamper with the testing methods.

You must participate in a cognitive-behavioral treatment program and follow the rules and regulations of that program. The probation
officer will supervise your participation in the program (provider, location, modality, duration, intensity, etc.). Such programs may
include group sessions led by a counselor or participation in a program administered by the probation office.

You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(l)), other
electronic communications or data storage devices or media, or office, to a search conducted by a United States probation officer.You
must warn any other occupants that the premises may be subject to searches pursuant to this condition. The probation officer may
conduct a search under this condition only when reasonable suspicion exists that you have violated a condition of supervision and that
the areas to be searched contain evidence of this violation.
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DEFENDANT:                    CAMERON C. ACOSTA
CASE NUMBER:                  1:20-CR-00 185-MTS(l)

                                         CRIMINAL MONETARY PENALTIES
                                 Assessment             Restitution                 Fine    AVAA Assessment*             JVTA Assessment**
 TOTALS                             $300.00                    $.00                 $.00


            •               The determination of restitution is deferred until
                            (A0245C) will be entered after such determination.
                                                                                An Amended Judgment in a Criminal Case


            •               The defendant must make restitution (including community restitution) to the following payees in the
                            amount listed below.


         The defendant must pay the total criminal monetary penalties under the schedule of payments page.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.




 D     Restitution amount ordered pursuant to plea agreement $
 D                                                                                                                 or
       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
       payments page may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       1ZJ the interest requirement is waived for the        D fine                            1ZJ restitution
        D       the interest requirement for the                D     fine                           D     restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299:
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount oflosses are required under Chapters 109A, 110, II0A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before Aprjl 23, 1996.
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DEFENDANT:                     CAMERON C. ACOSTA
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                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      1Zi   Lump sum payments of$ 300.00 due immediately: balance due

        D     not later than                                      , or

        IZ!   in accordance                •       C,         •          D,      D      E,or         IZ!     F below; or

 B      D     Payment to begin immediately (may be combined with                 D       C,          D       D,or               D      F below); or

 C      D     Payment in equal _ _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of$ _ _ _ _ _ over a period of
              _ _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment;
              or

 D      D     Payment in equal 20 (e.g., wee/fly, monthly, quarterly) installments of$ _ _ _ _ _ over a period of
              _ _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or

 E      D     Payment during the term of supervised release will commence within _ _ _ _ _ _ (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan·based on an assessment of the defendant's ability to pay at that
              time; or

 F      IZI   Special instructions regarding the payment of criminal monetary penalties:
              It is ordered that the Defendant shall pay to the United States a special assessment of $300.00 for Counts lrs, 2rs
              and 4rs , which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 D      Joint and Several
        See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.

        D Defendant shall receive credit on his restitution obligation for-recovery from other defendants who contributed to the same
        loss that gave rise to defendant's restitution obligation.
 D      The defendant shall pay the cost of prosecution.
 D      The defendant shall pay the following court.cost(s):
 D      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, '(3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) NTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.                            ·
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DEFENDANT:           CAMERON C. ACOSTA
CASE NUMBER:         1:20-CR-00185-MTS(l)
USM Number:          21808-509


                                 UNITED STATES MARSHAL
                          RETURN OF JUDGMENT IN A CRIMINAL CASE

I have executed this judgment as follows:

Date defendant was delivered with certified copy of this judgment:_ _ _ _ _ _ _ __


Name and location of facility: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



D Defendant was sentenced to Time Served and was released on:- - - - - - - - - -

•   Defendant was sentenced to _ _ _ months/years of Probation and was released o n : _ ~ - - - - - -

•   Defendant was sentenced to _ _ _ months/years of Supervised Release and was released on:_ _ _ __




NAME OF US MARSHAL/WARDEN




By: NAME OF DEPUTY US MARSHAL/CSO
